Case 10-93904-BHL-11              Doc 1009 Filed 02/07/12 EOD 02/07/12 13:11:23                Pg 1 of 2
                                 SO ORDERED: February 7, 2012.




                                 ______________________________
                                 Basil H. Lorch III
                                 United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      NEW ALBANY DIVISION

                                                                  :
 In re:                                                           :     Chapter 11
                                                                  :
 EASTERN LIVESTOCK CO., LLC, et al.,1                             :    Case No.: 10-93904-BHL-11
                                                                  :
                                           Debtors.               :
                                                                  :

      ORDER GRANTING MOTION PURSUANT TO FED R. BANKR. P. 9006(c) FOR
     EMERGENCY HEARING ON MOTION OF FIFTH THIRD BANK, N.A. TO LIMIT
         DISCOVERY OR, ALTERNATIVELY, FOR A PROTECTIVE ORDER

                   This matter came before the Court upon the Motion Pursuant to Fed. R. Bankr. P.

 9006(c) for Emergency Hearing on Motion of Fifth Third Bank N.A. to Limit Discovery or,

 Alternatively, for a Protective Order [Docket No. 1006] (“the Motion”). The Court, after

 considering the Motion, now finds that granting the relief requested by the Motion is in the best

 interest of the estate. Therefore,

           IT IS HEREBY ORDERED THAT:



 1
     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
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        1.     The Motion of Fifth Third Bank, N.A. to Limit Discovery or, Alternatively, for a

 Protective Order is set for hearing on February 13, 2012, at 10:00 a.m. at the United States

 Courthouse, 121 W. Spring Street, Room 103, New Albany, Indiana;

        2.     All parties in interest may participate telephonically in the hearing on the Motion

 by dialing 1-888-399-7768; passcode 586676#; and

        3.     NOTICE IS HEREBY GIVEN that any objection to the relief requested in the

 Motion must be filed at http://ecf.insb.uscourts.gov, which requires a user account and password,

 or in writing with the Clerk’s Office in accordance with Local Rule S.D.Ind.B-9013-1(d) at the

 following address:

               United States Bankruptcy Court
               Southern District of Indiana
               110 U.S. Courthouse
               121 West Spring Street
               New Albany, IN 47150

               Objections may be filed through and including February 10, 2012 by 4:30 p.m.
 EST.

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